                               BER-L-003841-21 09/01/2021 10:41:30 PM Pg 1 of 5 Trans ID: LCV20212032679
                              Case 2:21-cv-18714 Document 1-4 Filed 10/15/21 Page 1 of 8 PageID: 482




                         �
                     �                                                            �
                     ���������������������                                            �����������������������������
                     ��������������������������                                       ����������������������������
                     �����������������������������������                              �
                     ���������������������                                            ������������������������������
                     �                                                                �
                     �      �      �      ������������                                                 �
                     �                                                                                 �
                     �      �����������                                                                �
                     �                                                                                 �
                     �����������������������                                                           �
                     ������������������������������                                           ��������������
                     ����
                     ��
                     �
                     �      �      �      ������������
                     �
                      �
                      �
                         ����������                 �      �       ��
                         �   �    �                 �      �       ������
                         ����������                 �      �       ��
                         �
                         �
                         �
                                  ��         �������������
                                             �
                                             ��   ��������������������������������������������������������������

                         �������������������������������������������������������

                                             ��     ��������������������������������������������������������������������

                         �����������������������������������������������������������������������������

                                             ��     ����������������������������������������������������������������������

                         ���������������������������������������������������������������������������������������������

                                             ��     ����������������������������������������������������������������������

                         �����������������������������




Document Id: 83C1B660-0B94-11EC-A91B-57BF213F2E4C
                                                                                                                             Page 1/5
OnlineNotary.net
                               BER-L-003841-21 09/01/2021 10:41:30 PM Pg 2 of 5 Trans ID: LCV20212032679
                              Case 2:21-cv-18714 Document 1-4 Filed 10/15/21 Page 2 of 8 PageID: 483




                                             ��     ��������������������������������������������������������������������

                      ����������� �������� ��� �� ������ �������� ������ ���� �������������� ��� ����� ����� ���� ���� ����

                      �������������������������������������������������

                      �
                      �
                                  ��         �����������������������������
                                             �
                                             ��   �����������������������������������������������������������������

                      ����������������������������������������������������������������������������������������

                                             ��     ������������������������������������������������������������������

                      ����������������������������������������������

                                             ��     ���� ����� ������� ������� ������� ���� ��������� ���������

                      �������������������������������������������������������������������������������������

                      �������������������������������������������������������������������������������������

                                             ��     �� ��� ��������� ����� ���� ����������� �������� ����� ������� ���� �������

                      ����������������������������������������������������������������������������������

                      ������

                                             ���    �������������������������������������������������������������

                                             ���    ����������������������������������������������������������������

                      ������������������������������������������������������������������������������������������������

                      �����������������������������������������������������������������������������������������

                      ������������������������������������������������������������������������������������

                      ������������������������������������������������������������������������������




Document Id: 83C1B660-0B94-11EC-A91B-57BF213F2E4C
                                                                                                                                  Page 2/5
OnlineNotary.net
                               BER-L-003841-21 09/01/2021 10:41:30 PM Pg 3 of 5 Trans ID: LCV20212032679
                              Case 2:21-cv-18714 Document 1-4 Filed 10/15/21 Page 3 of 8 PageID: 484




                                             ���    �����������������������������������������������������������������������

                      ����������������������������������������������������������������������������������������

                      ������������������������������������

                                             ���    �����������������������������������������������������������������������

                      ����������������������������������������������

                                             ���    ������������������������������������

                                             ���    ���������������������������������������������

                                             ���    ����������������������������������������������������������������

                      ������������������������������������������������������������������������������������������

                      ����������������������������������������������������������������������������������������

                      ����������������������������������������������������������

                                             ���    �����������������������������������������������

                                             ���    ��� ������ �������� ��������� ����������� ����� ��� ������������ ������ ���

                      ������������ ���� �������� ����� ��� �� ���������� ���� �������� ��� ���� ����� ��������� ���� �����

                      ���������������������������������������������������������������������������

                                             ���    ����������������������������������������������������������������������

                      �����������������

                                             ���    ������������������������������������

                                             ���    ���� ��� ��� ����� ���� �� ���������� ���� ��������� �������� ��� �������

                      �����������������������������������������������������������������������

                                             ���    ��� ��� ����� ���� �� ���������� ���� ��������� �������� ��� ����� �� �������

                      ������������������������������������������������������������������������������

                                             �




Document Id: 83C1B660-0B94-11EC-A91B-57BF213F2E4C
                                                                                                                                    Page 3/5
OnlineNotary.net
                               BER-L-003841-21 09/01/2021 10:41:30 PM Pg 4 of 5 Trans ID: LCV20212032679
                              Case 2:21-cv-18714 Document 1-4 Filed 10/15/21 Page 4 of 8 PageID: 485




                            �� ������������������������

                                             ���    ��� ���������� �� ���������������� ����� ����� ����� ��� ���� �������� �������

                      ����� ���� ������������ ��� ��� �������� ������������ ������� �������� ���� ���������� ���� ����

                      ��������������������������

                                             ���    ��������������������������������������������������������������������

                      �� ���������� ���� ��������� �������� �������� ��� ���� ��� ���� �� ���� ������� ������ ����

                      ��������������������������������������������������������������������������������������������

                      �������������������������������������������������

                                             ���    ������������������������������������������������������������������

                      �����������������������������������������������������������������������������������������

                      ������������������������������������������������������������������������������������������

                      �����������������

                                             ���    ����������������������������������������������������������������������

                      �������������������������������������������������������������������������

                                             ���    �����������������������������������������������������������������������

                      �������������������������������������������������������������������������������������������

                      ���������������������������������������

                                             ���    ��� ���������� ���� ������������ ��� ���� ���������� ������ ��� ��������

                      �����������������������������������������������������������

                                             ���    �������������������������������������������������������������������

                      ��������� ����������� ��� ���� ��� ����������� ��� ���� ������� ���� ������ ��� �� ��������� ��

                      ����������������������������������������������������������������������������������������������

                      ������������������




Document Id: 83C1B660-0B94-11EC-A91B-57BF213F2E4C
                                                                                                                                     Page 4/5
OnlineNotary.net
                                                 BER-L-003841-21 09/01/2021 10:41:30 PM Pg 5 of 5 Trans ID: LCV20212032679
                                              Case 2:21-cv-18714 Document 1-4 Filed 10/15/21 Page 5 of 8 PageID: 486




                                                                        ���         �� ������� ���������� ������� ������ ������ ������������� ������������ ���

                                   �������������������������������������������������������

                                                                        �

                                   �
                                   �

                                   ��������                             ������������������

                                   �                 �                  �           �       �       �       ������������������������
                                   �
                                   �                 �                  �           �       �       ����    ����������������������������������
                                   �                 �                  �           �       �       �       ������������������


                                   ��������������������������������
                                   ���������������������������
                                   �
                                   �
                                   �������������������������




                                   CHIRAG PATEL
                                   ELECTRONIC NOTARY PUBLIC
                                   COMMONWEALTH OF VIRGINIA
                                   REGISTRATION # 7679556
                                   COMMISSION EXP JUNE 30, 2024
                                   Notary Stamp Placed at 2021/09/01 22:30:29 EST                   az0cs




                                       Document Notarized using a Live Audio-Video Connection




  Document Id: 83C1B660-0B94-11EC-A91B-57BF213F2E4C
                                                                                                                                                                 Page 5/5
  OnlineNotary.net
Powered by TCPDF (www.tcpdf.org)
                        BER-L-003841-21 09/01/2021 10:41:30 PM Pg 1 of 1 Trans ID: LCV20212032679
            Case 2:21-cv-18714 Document 1-4 Filed 10/15/21 Page 6 of 8 PageID: 487
2021 FLORIDA LIMITED LIABILITY COMPANY REINSTATEMENT                     FILED
DOCUMENT# L16000110617                                               Jun 02, 2021
Entity Name: ACKERMAN PRACTICE MANAGEMENT, LLC                    Secretary  of State
                                                                    3423877675CR
Current Principal Place of Business:
13867 JEREMIAH ROAD
JACKSONVILLE, FL 32224


Current Mailing Address:
13867 JEREMIAH ROAD
JACKSONVILLE, FL 32224 US

FEI Number: XX-XXXXXXX                                                                                                      Certificate of Status Desired: No
Name and Address of Current Registered Agent:
ACKERMAN, SHANALEE
13867 JEREMIAH ROAD
JACKSONVILLE, FL 32224 US

The above named entity submits this statement for the purpose of changing its registered office or registered agent, or both, in the State of Florida.

SIGNATURE: SHANALEE ACKERMAN                                                                                                                                              06/02/2021
                         Electronic Signature of Registered Agent                                                                                                                Date

Authorized Person(s) Detail :
Title                  AMBR
Name                   ACKERMAN, SHANALEE
Address                104 WEST OAK HIGHWAY
City-State-Zip:        WESTMINSTER FL 29697




I hereby certify that the information indicated on this report or supplemental report is true and accurate and that my electronic signature shall have the same legal effect as if made under
oath; that I am a managing member or manager of the limited liability company or the receiver or trustee empowered to execute this report as required by Chapter 605, Florida Statutes; and
that my name appears above, or on an attachment with all other like empowered.

SIGNATURE: SHANALEE ACKERMAN                                                                                           MEMBER                                             06/02/2021
                        Electronic Signature of Signing Authorized Person(s) Detail                                                                                             Date
BER-L-003841-21 09/01/2021 10:41:30 PM Pg 1 of 1 Trans ID: LCV20212032679
Case 2:21-cv-18714 Document 1-4 Filed 10/15/21 Page 7 of 8 PageID: 488
       BER-L-003841-21 09/01/2021 10:41:30 PM Pg 1 of 1 Trans ID: LCV20212032679
      Case 2:21-cv-18714 Document 1-4 Filed 10/15/21 Page 8 of 8 PageID: 489




From: Holland Inn of Bar Harbor <communications@resnexus.com>
Date: April 27, 2021 at 11:22:34 AM EDT
To: erin.doherty0@gmail.com
Subject: Holland Inn of Bar Harbor - Confirmation: #85044
Reply-To: Holland Inn of Bar Harbor <info@hollandinn.com>


Tuesday, Apr 27, 2021

Dear Erin,

This letter is to confirm the reservation you have made at the Holland Inn. Here are directions to
check in procedures. If you have any questions at all, please call or send an email. Also if possib

FROM BANGOR, MAINE : [approximately 45 miles]
It takes about 45 minutes to an hour to get here, October through mid June or 1-1 1/2 hours [at th
From Interstate 95 North or South, get off at Exit 182A in Bangor, which is Interstate 395 East. F
Route 3 to Bar Harbor. There are a lot of signs.
At the head of the island, there will be a light and a fork in the road. Go left, following Route 3. Ta
Avenue. We are a few hundred yards down the road on the left, the large white farmhouse with H

UPON ARRIVAL, please park in my lot, which is behind the inn. Walk inside the house and in the
posted, and we will come to check you in.

Your confirmation number is: #85044. We have you confirmed for:
  RESERVATION INFORMATION (#85044) - ERIN DOHERTY
                                              203 4171184
                                              Estimated Arrival - 3:00 PM



  St. Sauveur                                                                    $415.00
     Thu, Jun 24, 2021 — 2 Adults — $125.00
